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GAS 245B           (Rev. 09/11) Amended Judgment in aCrimina! Case
DC Custody TSR     Sheet 1



                                         United States District Court
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                          STATESBORO DIVISION

              UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                   V.

                      Elijah Nahum Simmons
                                                                                      Case Number.           6:10CR00001-1

Date of Original Judgment or Date of Last Amended Judgment;
                                                                                      USM Number:            15157-021
November 1. 2015


Reason for Amendment:
Direct Motion to District Court Pursuant to 28 U.S.C.§ 2255                           James Wrixam Mcllvaine
                                                                                      Defendant's Attorney
THE DEFENDANT:

    pleaded guilty to Count         1

□ pleaded nolo contendere to Count(s)                          which was accepted by the court,

□ was found guilty on Count(s)                          after a plea of not guilty,
                                                                                                                         C5   £   3:
The defendant is adjudicated guilty of this offense:
                                                                                                                         s     ^
                                                                                                                   Offer se End!^       ^Count
Title & Section                    Nature of Offense

21 U.S.C. § 846                    Conspiracy to posse ss with intent to distribute, and to distribute, 50         January 7, 2010
                                   kilograms or more of marihuana



        The defendant is sentenced as provided in pages 2 through              7      ofthis Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)

□ Counl(s)                                         □ is □ are dismissed on the motion of the United States.
           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                               April 25, 201
                                                                              Date of Impo^kSnof J


                                                                               Signature




                                                                               J. Randal Hall
                                                                               United States District Judge
                                                                               Name and Title of Judge




                                                                               Date
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